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                                                                                                               9   and Defendant and Counterclaimant FARADAY&FUTURE INC.
                                                                                                              10                           UNITED STATES DISTRICT COURT
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                                                                                                              11                          CENTRAL DISTRICT OF CALIFORNIA
                                                                                                              12                                   WESTERN DIVISION
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
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                                                                                                              13   HONG LIU,                                    Case No. 2:20-cv- 08035-SVW-JPR
                                                                                                              14                     Plaintiff,                Honorable Stephen V. Wilson
                                                                                                              15           v.                                  DEFENDANTS
                                                                                                                                                               FARADAY&FUTURE INC. AND
                                                                                                              16   FARADAY&FUTURE INC.,                        SMART KING LTD.’S OPPOSITION
                                                                                                                   SMART KING LTD., JIAWEI                     TO PLAINTIFF HONG LIU’S EX
                                                                                                              17   WANG, and CHAOYING DENG,                    PARTE APPLICATION FOR
                                                                                                                                                               TEMPORARY RESTRAINING
                                                                                                              18                     Defendants.               ORDER AND PRELIMINARY
                                                                                                                                                               INJUNCTION; MEMORANDUM OF
                                                                                                              19                                               POINTS AN AUTHORITIES IN
                                                                                                                                                               SUPPORT THEREOF ATTACHED
                                                                                                              20                                               HERETO
                                                                                                              21                                               [Filed concurrently with Declarations of
                                                                                                                                                               Kevin A. Crisp and Vijay S. Sekhon]
                                                                                                              22
                                                                                                                                                               Discovery Cutoff Date: April 23, 2021
                                                                                                              23                                               Pre-Trial Conf:        Waived
                                                                                                                                                               Trial Date:            June 8, 2021
                                                                                                              24
                                                                                                              25
                                                                                                                   AND RELATED COUNTERCLAIM.
                                                                                                              26
                                                                                                              27
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                                                                                                                   115009198
                                                                                                                           DEFENDANTS’ OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION FOR TRO AND PI
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                                                                                                                           A.  There is no exigency as the Merger will not close for at least
                                                                                                              11               five weeks, and Liu has inexplicably waited two-and-a-half
                                                                                                                               months. ................................................................................................ 10
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                                                                                                                           B.  No extraordinary relief is required because the Merger permits
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                                                                                                                               both the issuance of options and their conversion. ............................. 11
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                                                                                                              13
                                                                                                                           C.  There is no irreparable harm as stock in public companies is
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                                                                                                                           D.  Regardless, Liu is not likely to succeed on the merits of his
                                                                                                              15               claims because his options never vested and he never exercised
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                                                                                                              18               nothing................................................................................................. 15
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                                                                                                              19               interest, including the livelihoods of nearly five hundred
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                                                                                                                           G.  If the Merger is stopped, Liu must make a $4 billion dollar
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                                                                                                               1   I.       INTRODUCTION
                                                                                                               2            Plaintiff Hong Liu’s (“Liu”) Ex Parte Application for Temporary Restraining
                                                                                                               3   Order and Preliminary Injunction (the “Application”) to enjoin Defendants
                                                                                                               4   Faraday&Future Inc. (“FF”) and Smart King Ltd. (“Smart King”; together with FF,
                                                                                                               5   “Defendants”) from proceeding with a multi-billion dollar merger with Property
                                                                                                               6   Solutions Acquisition Corp. (“PSAC”), which not only was publicly announced and
                                                                                                               7   filed with the SEC, but also of which both Liu and his counsel in this action were
                                                                                                               8   specifically notified in writing more than two months ago on January 28, 2021 (the
                                                                                                               9   “Merger”),1 is legally required to be denied for each of the following, independently
                                                                                                              10   dispositive reasons:
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                                                                                                              11            First, as manifest from his more than two month delay just in filing the
                                                                                                              12   Application itself, there clearly are no exigent circumstances legally prerequisite to
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                                                                                                              13   the issuance of Liu’s demanded extraordinary injunctive relief. That is particularly
                                                                                                              14   true where, contrary to Liu’s entirely unsubstantiated and speculative supposition,
                                                                                                              15   the Merger actually is not even scheduled to close for at least another month, no
                                                                                                              16   earlier than mid-to-late May 2021. Rather than make any effort to ascertain this
                                                                                                              17   actual date of the Merger’s closing, Liu instead attempts to create an “emergency”
                                                                                                              18   where none exists by baselessly hypothesizing—without any reasonable basis
                                                                                                              19   whatsoever—that the Merger “could close any day,” in a transparent attempt to
                                                                                                              20   prejudice Defendants by threatening to “blow up” the Merger they have been working
                                                                                                              21   on for months with Liu’s and his counsel’s express knowledge, and by forcing
                                                                                                              22   Defendants and this Court to waste time and resources responding to a non-existent
                                                                                                              23   “emergency” of Liu’s own making in the hope of obtaining a tactical advantage in
                                                                                                              24   this litigation.
                                                                                                              25            To that end, Liu not only purposely waited for more than two months until
                                                                                                              26   4:00 p.m. yesterday to first provide ex parte notice, but also purposely waited until
                                                                                                              27
                                                                                                                   1
                                                                                                              28       See discussion, infra, at Section IID.
                                                                                                                   115009198                                    -1-
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                                                                                                               1   approximately 9:00 p.m. last night to first serve his 671-page Application and
                                                                                                               2   supporting papers, which he admitted had been prepared prior to his provision of his
                                                                                                               3   ex parte notice 5 hours earlier. Accordingly, in addition to the absence of any
                                                                                                               4   “emergency” conceivably supporting the issuance of extraordinary ex parte relief
                                                                                                               5   manifest from his own dilatory conduct, Liu’s blatant gamesmanship and bad faith
                                                                                                               6   tactics further mandate denial of the Application, as well as subject Liu and his
                                                                                                               7   counsel to sanctions. See discussion, infra, at Section IV.A.
                                                                                                               8           Second, no extraordinary relief is needed. Rather, in again attempting to
                                                                                                               9   manufacture an emergency where none exists, Liu pretends that in the highly unlikely
                                                                                                              10   event that he were to succeed on his underlying Smart King options claim in this
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                                                                                                              11   case, the Merger somehow will impede his enforcement of a hypothetical judgment
                                                                                                              12   for specific performance. Not so.
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                                                                                                              13           Under the publicly-announced January 28, 2021 Agreement and Plan of
                                                                                                              14   Merger with PSAC (the “Merger Agreement”), the Smart King options not only
                                                                                                              15   automatically convert to PSAC options, but also Smart King’s successor retains the
                                                                                                              16   ability to issue or otherwise honor options to Liu should the trier of fact so require.
                                                                                                              17   And Liu’s alleged conundrum that he cannot add PSAC as a party to this action is
                                                                                                              18   equally contrived and irrelevant as well as entirely self-inflicted, as just three weeks
                                                                                                              19   ago Liu stipulated to, and this Court entered an order, setting a March 16, 2021 cutoff
                                                                                                              20   for adding parties that Liu tellingly failed to meet. Thus, for the second time in just
                                                                                                              21   the past two weeks, Liu has come to this Court in violation of its own rules on a
                                                                                                              22   purported ex parte, emergency basis to bail him out of a scheduling snafu of his own
                                                                                                              23   making. The difference is that this time, Liu is not merely seeking to extend a
                                                                                                              24   deadline he flouted, but instead is demanding that this Court take the extraordinary
                                                                                                              25   measure of stopping dead in its tracks a multi-billion-dollar transaction Liu has
                                                                                                              26   admittedly known about for months. See discussion, infra, at Section IV.B.
                                                                                                              27           Third, no irreparable harm legally exists. Indeed, under even Liu’s best case
                                                                                                              28   scenario, his claims would only give him 2% of the company, which is a far cry from
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                                                                                                               1   the controlling interests courts might consider as warranting specific performance,
                                                                                                               2   and regardless, options in companies like Smart King (which will be publicly traded
                                                                                                               3   once the Merger closes) are fungible, subsequently rendering the Application’s cited
                                                                                                               4   authorities on the subject legally inapposite and irrelevant. Put simply, Liu’s legal
                                                                                                               5   remedies, if any, are plainly adequate as a matter of black letter law, and there is no
                                                                                                               6   irreparable harm. In fact, by threatening Smart King’s continued existence, it is only
                                                                                                               7   the granting of the extraordinary relief demanded in the Application that creates a
                                                                                                               8   risk that Liu might be unable to collect on a hypothetical judgment. See discussion,
                                                                                                               9   infra, at Section IV.C.
                                                                                                              10           Fourth, there is no likelihood of success on the merits for Liu’s purported
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                                                                                                              11   option claims. In particular, and entirely omitted from the Application even though
                                                                                                              12   Smart King has repeatedly informed him of such, Liu failed to perform the necessary
                                                                               I R V I N E , C A 92614-2545
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                                                                                                              13   conditions precedent. Under the options’ clear and express terms, and leaving to the
                                                                                                              14   side FF and Smart King’s position on the validity of Liu’s agreements with FF in
                                                                                                              15   light of his violations of rules of professional conduct, the options could only vest if
                                                                                                              16   Liu remained at the company on any given vesting date, but his termination
                                                                                                              17   indisputably predated any of those vesting dates, so none of his purported options
                                                                                                              18   ever vested. In addition, and even if they had vested, Liu undisputedly never
                                                                                                              19   attempted to exercise, much less exercised, any of the options before they expired
                                                                                                              20   three months after his termination.
                                                                                                              21           While Liu strains to avoid the obvious consequences of these failures by
                                                                                                              22   pointing to the employment agreement he drafted for his own client while
                                                                                                              23   simultaneously representing it as outside counsel, the option terms superseded the
                                                                                                              24   employment agreement. But even if not, Liu similarly omits from his Application
                                                                                                              25   that the employment agreement was and is void ab initio as a result of Liu’s blatant
                                                                                                              26   failures to abide by his ethical obligations in negotiating such a business deal with
                                                                                                              27   his own clients, specifically New York Rules of Professional Conduct 1.5, 1.7, and
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                                                                                                               1   1.8, as well as California Rules of Professional Conduct 3-310, 3-300, and 4-200, due
                                                                                                               2   to his failures to:
                                                                                                               3           (i) advise his client in writing to obtain independent counsel;
                                                                                                               4           (ii) inform his client of all existing and potential conflicts; and
                                                                                                               5           (iii) obtain informed, written consent as to such conflicts, as well as
                                                                                                               6           (iv) his negotiation of not only unfair and unreasonable terms, but also patently
                                                                                                               7   unconscionable terms, including grossly excessive fees in the form of $8 million cash
                                                                                                               8   plus 2% ownership of the company (which would currently be valued at about $80
                                                                                                               9   million), both of which were guaranteed even if Liu was immediately terminated and
                                                                                                              10   even if a court expressly found Liu had breached his fiduciary duties.
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                                                                                                              11           Further, Liu drafted that agreement himself, and he did so in English, even
                                                                                                              12   though the client representative with whom he was discussing the agreement is a
                                                                               I R V I N E , C A 92614-2545
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                                                                                                              13   native Mandarin speaker, and even though Liu made almost all his other
                                                                                                              14   communications with his clients in Mandarin. Needless to say, Liu simply cannot
                                                                                                              15   rely on superseded terms in an unenforceable agreement to bootstrap his way into an
                                                                                                              16   ex parte temporary restraining order and preliminary injunction, especially one that
                                                                                                              17   would, as discussed below, needlessly and perhaps irreparably harm FF and Smart
                                                                                                              18   King. See discussion, infra, at Section IV.D.
                                                                                                              19           Fifth, the balance of harms exclusively favors denying the Application.
                                                                                                              20   Restraining the Merger at this point in the transaction seriously risks destroying the
                                                                                                              21   entire transaction, which not only risks wasting countless hours and time and very
                                                                                                              22   significant resources put into the Merger, but it also seriously risks FF and Smart
                                                                                                              23   King’s continued existence, and jeopardizes the investments and livelihoods of
                                                                                                              24   several hundreds of actual shareholders and employees. Meanwhile, as noted above,
                                                                                                              25   there is simply no need for the patently overbroad restraining order and injunction
                                                                                                              26   demanded in the Application, and Liu can suffer no harm at all by its denial. Just the
                                                                                                              27   opposite, as the Merger ensures Smart King’s future, while restraining the Merger
                                                                                                              28
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                                                                                                                           DEFENDANTS’ OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION FOR TRO AND PI
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                                                                                                                1   endangers it, and whether Liu wants options or damages (though again, he is unlikely
                                                                                                                2   to get either), Smart King’s viability is critical. See discussion, infra, at Section IV.E.
                                                                                                                3           Sixth, the public interest also exclusively favors the Application’s denial. As
                                                                                                                4   just explained, on behalf of Smart King and all its stakeholders relying on the Merger,
                                                                                                                5   the Court must stop Liu from cutting off his proverbial nose to spite his face (even if
                                                                                                                6   he does not see the difference.) Further, and of note here, Liu’s baseless assertion
                                                                                                                7   that the Merger is somehow being “rush[ed] to close” as an “end run” around Liu’s
                                                                                                                8   options is absurd. App., p. 1. The Merger has nothing to do with Liu’s groundless
                                                                                                                9   option claims and is in fact the culmination of nearly a year of tireless work by
                                                                                                               10   numerous Smart King executives and outside consultants that will secure the
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                                                                                                               11   company’s future as a publicly-traded company. See discussion, infra, at Section
                                                                                                               12   IV.F.
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13           And seventh, Liu failed to offer any undertaking or to explain why any
                                                                                                               14   undertaking should be excused.        Not only is an undertaking appropriate, it is
                                                                                                               15   mandatory under Fed. R. Civ. P. 56(f). The Merger will not only ensure Smart King’s
                                                                                                               16   viability, it will inject approximately $1 billion cash into Smart King’s business, and
                                                                                                               17   based on the Merger, PSAC’s current trading price values Smart King at more than
                                                                                                               18   $4 billion, all of which may be lost if the Merger is stopped. As such, while there is
                                                                                                               19   no reason to approve the Application, if the Court for some reason does grant it, Liu
                                                                                                               20   should be required to first deposit an undertaking of the full $4 bilion, or at the very
                                                                                                               21   least $1 billion. See discussion, infra, at Section IV.G.
                                                                                                               22           At bottom, and as is evident from each of the foregoing reasons, the
                                                                                                               23   Application is factually and legally baseless, and it represents a sanctionable misuse
                                                                                                               24   of the ex parte process, all of which Smart King’s counsel explained during Liu’s
                                                                                                               25   belated telephonic notice yesterday evening. The Application therefore should be
                                                                                                               26   denied, and the Court should award Smart King its costs and fees in opposing it.
                                                                                                               27
                                                                                                               28
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                                                                                                                1   II.     BACKGROUND
                                                                                                                2           A.    The Parties
                                                                                                                3           Liu was a New York attorney and partner at Mayer Brown LLP (“Mayer”) in
                                                                                                                4   or around October 2017. (Dkt. 95 [Second Amended Counterclaim] at ¶ 1.) FF was
                                                                                                                5   and is an electric car company headquartered in Los Angeles. (Id. at ¶¶ 13, 17.)
                                                                                                                6   Smart King is FF’s indirect parent company. (Id. at ¶ 40.)
                                                                                                                7           B.    The Employment Agreement and Liu’s Ethical Violations
                                                                                                                8           While at Mayer, FF retained Liu as its attorney, which attorney-client
                                                                                                                9   relationship was memorialized in an engagement agreement dated October 20, 2017
                                                                                                               10   that was signed by Liu on Mayer’s behalf. (Id. at ¶ 2.) Despite Liu representing FF
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                                                                                                               11   in various legal matters, on or about January 25, 2018, Liu solicited from and
                                                                                                               12   obtained an employment agreement with FF and Smart King (the “Employment
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                                                                                                               13   Agreement”), and a related Directors Compensation Agreement from a principal of
                                                                                                               14   FF and Smart King. (Id. at ¶ 4.) In so doing, Liu violated his ethical duties to his
                                                                                                               15   client by failing to: (i) advise his client in writing to obtain independent counsel;
                                                                                                               16   (ii) inform his client of all existing and potential conflicts; and (iii) obtain informed,
                                                                                                               17   written consent as to such conflicts. He also negotiated unfair, unreasonable and
                                                                                                               18   unconscionable terms, including grossly excessive fees in the form of $8 million cash
                                                                                                               19   plus 2% ownership of the company (which would currently be valued at about $80
                                                                                                               20   million), both of which were guaranteed even if Liu was immediately terminated and
                                                                                                               21   even if a court expressly found Liu had breached his fiduciary duties. (Id. at ¶¶ 76-
                                                                                                               22   91.) Further, Liu drafted that agreement himself, and he did so in English, even
                                                                                                               23   though his clients’ native language was Mandarin, and even though Liu made almost
                                                                                                               24   all his other communications with his clients in Mandarin. (Id.)
                                                                                                               25           C.    The Options and Liu’s Failures to Perform Thereunder
                                                                                                               26           On or about October 24, 2018, Liu, as a Smart King director, proposed and
                                                                                                               27   voted to approve a grant of stock options to Liu and other employees under the Smart
                                                                                                               28   King Equity Incentive Plan. (Decl. of Kevin A. Crisp (“Crisp Decl.”) at Ex. 1.) On
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                                                                                                                1   or about October 24, 2018, Smart King granted Liu his purported options under the
                                                                                                                2   Equity Incentive Plan pursuant to a vote of the Smart King Board of Directors. (Id.)
                                                                                                                3   Liu participated in this vote and approved of the grant under the Equity Incentive
                                                                                                                4   Plan.       The options purportedly available to Liu by virtue of the option grant
                                                                                                                5   agreements never vested before he was terminated in February 2019. (Id. at Ex. 2;
                                                                                                                6   Dkt. 95 [Second Amended Counterclaim] at ¶ 51.) Liu also never even attempted to
                                                                                                                7   exercise those options even though the Equity Plan states that options thereunder
                                                                                                                8   must be exercised within a specified time frame identified by the plan administrator.
                                                                                                                9   (Crisp Decl. at Ex. 3.)
                                                                                                               10           D.      The Merger Agreement and the Merger
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                                                                                                               11           On or about January 28, 2021, the Merger Agreement was publicly filed with
                                                                                                               12   the SEC. (Decl. of Vijay Sekhon (“Sekhon Decl.”) at ¶ 2.) That same day, a copy
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                                                                                                               13   of the Merger Agreement was also emailed to Liu’s lawyers, one of whom, Amiad
                                                                                                               14   Kushner, replied the next day that, “We are reviewing.” (Crisp Decl. at Ex. 4.)
                                                                                                               15           The Merger Agreement resulted from, and has required to date, over nine
                                                                                                               16   months of meticulous planning and negotiations involving numerous Smart King
                                                                                                               17   executives and employees as well as Smart King’s various advisors, including
                                                                                                               18   lawyers, investment bankers, and accountants. (Sekhon Decl. at ¶ 3.)
                                                                                                               19           The Merger (as defined in the Merger Agreement) is a so-called “SPAC
                                                                                                               20   Transaction,” which is designed for companies to access pre-pooled public investor
                                                                                                               21   funds together with privately placed equity and become a publicly traded company
                                                                                                               22   via a business combination. (Id. at ¶ 4.) As a result of the Merger, subject to the
                                                                                                               23   satisfaction or waiver of the conditions in the Merger Agreement, PSAC Merger Sub
                                                                                                               24   Ltd. (“Merger Sub”) will merge with and into Smart King, and substantially all
                                                                                                               25   current Smart King stakeholders will have the right to receive publicly traded
                                                                                                               26   common stock of PSAC (which is intended to be renamed Faraday Future Intelligent
                                                                                                               27   Electric Inc. (“New FF”) and remain listed on NASDAQ at the closing). (Id.) Smart
                                                                                                               28   King expects to receive approximately $1 billion in cash from a trust account at
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                                                                                                                1   PSAC and the proceeds of private placements of common stock by PSAC at the
                                                                                                                2   closing. (Id.)
                                                                                                                3           Under Merger Agreement Section 3.05, all Smart King stock and stock options
                                                                                                                4   outstanding immediately prior to the Merger will convert upon closing to New FF
                                                                                                                5   common stock and common stock options. (Id. at ¶ 7.) After the closing of the
                                                                                                                6   Merger, under Merger Agreement Section 7.09, New FF will have the ability to issue
                                                                                                                7   stock options, including to Liu if so required by the court. (Id.) In other words, the
                                                                                                                8   so-called potential “injury” feigned by Liu is non-existent.
                                                                                                                9           On April 5, 2021, PSAC filed a Form S-4 filed with the SEC, but the Merger
                                                                                                               10   is not expected to close until mid-to late May at the earliest. (Id. at ¶ 5.) The Form
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                                                                                                               11   S-4 is subject to review and comment by the U.S. Securities and Exchange
                                                                                                               12   Commission (the “SEC”), and after the SEC confirms that it has no further comments
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                                                                                                               13   to the Form S-4, the S-4 must be sent to FF and PSAC shareholders for review in
                                                                                                               14   connection with such shareholders’ approval of the Merger. This process is expected
                                                                                                               15   to be completed by no earlier than mid-to-late May 2021 or no later than the end of
                                                                                                               16   June 2021. (Id.)
                                                                                                               17           Page 173 of the S-4 includes the following disclosure regarding Liu’s ongoing
                                                                                                               18   litigation with Defendants: “FF is also involved in a lawsuit brought by a former
                                                                                                               19   employee alleging fraudulent inducement and wrongful termination, seeking
                                                                                                               20   damages, including $6.4 million of unpaid compensation and immediate vesting of
                                                                                                               21   20 million FF shares.” (Id. at ¶ 6.)
                                                                                                               22           The issuance of an order restraining Smart King from proceeding with the
                                                                                                               23   Merger, as requested in the Application, would create a serious risk that the Merger
                                                                                                               24   will be terminated by one or more investors or stakeholders, and create a serious risk
                                                                                                               25   that the Merger would be called off. (Id. at ¶ 8.) And if the Merger were to be called
                                                                                                               26   off, that would cause an existential threat to Smart King’s business. (Id.) Smart King
                                                                                                               27   and its subsidiaries currently employ nearly 400 employees. (Id. at ¶ 9.) In addition,
                                                                                                               28   Smart King has several hundred shareholders. (Id.)
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                                                                                                                1           The current trading price of PSAC implies that, if the Merger is closed, Smart
                                                                                                                2   King will have a market capitalization of about $4 billion. (Id. at ¶ 10.)
                                                                                                                3           E.    Procedural History
                                                                                                                4           Liu never even mentioned the possibility of seeking to enjoin the Merger until
                                                                                                                5   yesterday afternoon at around 4:00 p.m. when his counsel called Smart King’s
                                                                                                                6   counsel to provide ex parte notice of the Application. (Crisp Decl. at ¶ 6.) During
                                                                                                                7   that notice, Liu’s counsel stated the Application and supporting papers—which total
                                                                                                                8   671 pages—were substantially complete and would be filed within an hour or two.
                                                                                                                9   (Id.) Yet, the papers were not filed until close to 9:00 p.m.
                                                                                                               10           While Liu laments his purported inability to add PSAC at a party—an
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                                                                                                               11   unnecessary measure for the reasons described above—any such failing is due to
                                                                                                               12   Liu’s own delay and his express stipulation to the deadline to add new parties.
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                                                                                                               13   (Dkt. 92 [Joint Stip re Discovery and Pretrial Dates].) And just two weeks ago, on
                                                                                                               14   March 23, Liu filed another ex parte application asking the Court to bail him out of
                                                                                                               15   a scheduling issue he had created for himself by failing to timely meet and confer on
                                                                                                               16   a motion to dismiss. (Dkt. No. 99 [Ex Parte Application to Extend Deadline].)
                                                                                                               17   III.    LEGAL STANDARDS
                                                                                                               18           Liu “must establish that he is likely to succeed on the merits, that he is likely
                                                                                                               19   to suffer irreparable harm in the absence of preliminary relief, that the balance of
                                                                                                               20   equities tips in his favor, and that an injunction is in the public interest.” Winter v.
                                                                                                               21   Natural Res. Defense Council, 555 U.S. 7, 20 (2008). “A preliminary injunction is
                                                                                                               22   an extraordinary remedy never awarded as of right.” Id. Further, “a preliminary
                                                                                                               23   injunction is an extraordinary and drastic remedy, one that should not be granted
                                                                                                               24   unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek
                                                                                                               25   v. Armstrong, 520 U.S. 968, 972 (1997).
                                                                                                               26           In addition, the “‘stringent restrictions imposed . . . by Rule 65 on the
                                                                                                               27   availability of ex parte temporary restraining orders reflect the fact that our entire
                                                                                                               28   jurisprudence runs counter to the notion of court action taken before reasonable
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                                                                                                                1   notice and an opportunity to be heard has been granted both sides of a dispute.’”
                                                                                                                2   Reno Air Racing Ass’n, Inc., 452 F.3d at 1131 (quoting Granny Goose Foods, Inc. v.
                                                                                                                3   Teamsters, 415 U.S. 423, 438-39, (1974)); see also Religious Tech Ctr. v. Netcom
                                                                                                                4   On-Line Commc’n Servs., Inc., 923 F. Supp. 1231, 1262 (“Rule 65(b) permits
                                                                                                                5   injunctive relief without notice only where notice to the adverse party is impossible
                                                                                                                6   or, in some limited circumstances, where notice would render further action
                                                                                                                7   fruitless.”). To satisfy Rule 65, Liu must therefore establish with specific facts in an
                                                                                                                8   affidavit or a verified complaint that clearly show that immediate and irreparable
                                                                                                                9   injury, loss, or damage will result before the adverse party can be heard in opposition
                                                                                                               10   on normal notice. Fed. R. Civ. P. 65(b)(1); see Zakar v. CHL Mortg. Pass Through
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                                                                                                               11   Trust, 2011 WL 915293, at *1-2 (S.D. Cal. Mar. 8, 2011); Manzano v. Misson Fed.
                                                                                                               12   Credit Union, 2010 WL 5463102, at *1-2 (S. D. Cal. Dec. 29, 2010).
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                                                                                                               13   IV.     ARGUMENT
                                                                                                               14           A.    There is no exigency as the Merger will not close for at least five
                                                                                                               15                 weeks, and Liu has inexplicably waited two-and-a-half months.
                                                                                                               16           Ex parte relief is expressly reserved for emergencies. See, e.g., Dkt. No. 55
                                                                                                               17   [New Case Order] at ¶ 4 (“This Court only allows ex parte applications when
                                                                                                               18   extraordinary relief is necessary. Counsel are advised to file and serve their ex parte
                                                                                                               19   applications as soon as they realize that extraordinary relief is necessary. Sanctions
                                                                                                               20   may be imposed for misuse of ex parte applications.”) (citing In Re: Intermagnetics
                                                                                                               21   America, Inc., 101 Bankr. 191 (C.D. Cal. 1989)). But there is no emergency here,
                                                                                                               22   and this fact, by itself, requires the Application’s denial.
                                                                                                               23           Liu waited two-and-a-half months before seeking the Court’s intervention
                                                                                                               24   here, and the only explanation for that delay is that he is seeking to prejudice Smart
                                                                                                               25   King and FF in light of the many other pre-trial matters to which they are attending
                                                                                                               26   (including opposing Liu’s motion to dismiss on April 12, 2021). Even then, he
                                                                                                               27   missed the mark, as the Merger will not close for at least another five weeks and
                                                                                                               28
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                                                                                                                1   potentially three months, a fact Liu could have ascertained with a simple phone call.2
                                                                                                                2   Instead, he arbitrarily demanded that the Court intervene on an ex parte basis now
                                                                                                                3   without any explanation as to why he could not have sought to solve his purported
                                                                                                                4   issues earlier or as to why Smart King and the Court must be forced to answer his
                                                                                                                5   demands concerning a multi-billion dollar transaction in less than 24 hours without
                                                                                                                6   so much as a hearing on the matter when, again, the Merger will not close for months
                                                                                                                7   from now. Equally pernicious, Liu clearly waited until he had prepared lengthy
                                                                                                                8   papers before even telling Smart King yesterday evening—for the very first time—
                                                                                                                9   that he was even contemplating seeking such an overbroad injunction, must less that
                                                                                                               10   he was moving within hours on an ex parte basis.
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                                                                                                               11           This is the precise situation contemplated by In re: Intermagnetics Am., Inc.,
                                                                                                               12   101 Bankr. 191 (C.D. Cal. 1989), in which ex parte relief must not only be denied,
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                                                                                                               13   but sanctions should be imposed. Id. (“Ex parte applications are not intended to save
                                                                                                               14   the day for parties who have failed to present requests when they should have, and
                                                                                                               15   should not be used as a way to ‘cut in line’ ahead of those litigants awaiting
                                                                                                               16   determination of their properly noticed and timely filed motions.”) FF and Smart
                                                                                                               17   King’s counsel do not request sanctions lightly, but Liu’s abuse of the ex parte
                                                                                                               18   process simply must stop.
                                                                                                               19           B.    No extraordinary relief is required because the Merger permits
                                                                                                               20                 both the issuance of options and their conversion.
                                                                                                               21           Telling absent from the Application is any mention of the fact that Liu is
                                                                                                               22   scheduled to take Smart King’s Fed. R. Civ. P. 30(b)(6) deposition tomorrow or that
                                                                                                               23   all the apparently unanswered questions Liu has about the Merger are noticed
                                                                                                               24
                                                                                                                    2
                                                                                                                      Contrary to Liu’s baseless assumptions, the S-4 filed on April 5 does not remotely
                                                                                                               25
                                                                                                                    mean the Merger “may close in a matter of days.” App., p. 2. The form is subject to
                                                                                                               26   review and comment by the SEC, and even after the SEC confirms that is has no
                                                                                                                    further comments, the form must then be sent to FF and PSAC shareholders for
                                                                                                               27
                                                                                                                    review in connection with the Merger’s approval, which process is expected to be
                                                                                                               28   completed by the end of June 2021. (Sekhon Decl. at ¶ 5.)
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                                                                                                                1   subjects in that deposition. In other words, even crediting Liu’s purported confusion
                                                                                                                2   as to the Merger terms he and his counsel have been reviewing for months, he could
                                                                                                                3   have waited just two more days, and he would then have all his answers, including
                                                                                                                4   that, under Merger Agreement Section 3.05, Smart King options automatically
                                                                                                                5   convert to PSAC options, and that under Merger Agreement Section 7.09, both Smart
                                                                                                                6   King and its successor retain the ability to issue options to Liu if the Court so orders.
                                                                                                                7           Again, Liu has also had two-and-a-half months to ascertain this obvious fact
                                                                                                                8   himself from the Merger Agreement’s plain language. Or he could have simply asked
                                                                                                                9   Smart King’s counsel. Instead, and contrary to the Application’s assertion, he sent a
                                                                                                               10   cryptic letter demanding assurances that Smart King will pay his options. But Liu
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                                                                                                               11   knows full well that Smart King disputes Liu’s rights to any options (assuming he
                                                                                                               12   even has a valid right to options in the first place), including for their lack of vesting,
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                                                                                                               13   for the lack of exercise before expiration, and because Liu’s Employment Agreement
                                                                                                               14   was and is void ab initio due to his patent breaches of ethical obligations and abuse
                                                                                                               15   of his fiduciary duties in obtaining his unconscionable “deal” with FF and Smart
                                                                                                               16   King. Indeed, FF and Smart King explained all of this again in the very discovery
                                                                                                               17   responses that Liu mischaracterizes as well as in their answers and affirmative
                                                                                                               18   defenses.
                                                                                                               19           What’s more, even assuming the Merger somehow did prevent either Smart
                                                                                                               20   King or PSAC from issuing Liu options if the Court so orders, and they certainly can,
                                                                                                               21   Liu’s false predicament that he no longer can add PSAC as a party would still be a
                                                                                                               22   problem of his own making given he admittedly reviewed the Merger Agreement
                                                                                                               23   two-and-a-half months ago but just a couple weeks ago stipulated to a cutoff for
                                                                                                               24   adding parties that just passed. At any rate, there plainly is no need for any
                                                                                                               25   extraordinary relief here, much less the overbroad injunction sought by the
                                                                                                               26   Application that would needlessly stop the Merger cold in its tracks.
                                                                                                               27
                                                                                                               28
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                                                                                                                1           C.    There is no irreparable harm as stock in public companies is
                                                                                                                2                 fungible and money damages will be sufficient in any event.
                                                                                                                3           Irreparable harm is a threshold requirement for a preliminary injunction, yet
                                                                                                                4   Liu does not and cannot establish any irreparable harm. Options in companies like
                                                                                                                5   Smart King (which will be publicly traded once the Merger closes) are fungible,
                                                                                                                6   damages are readily calculable, and as a matter of law, legal remedies are adequate
                                                                                                                7   for the alleged breach thereof. See Emirzian v. Asato, 23 Cal. App. 251, 256 (1913)
                                                                                                                8   (“If the personal property has a market value, is bought and sold in the open market,
                                                                                                                9   and has no special or unique value, the remedy at law is sufficient . . . . In such cases
                                                                                                               10   specific performance is denied.”); La Jolla Cove Investors, Inc. v. Sultan Corp. Ltd.,
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                                                                                                               11   2011 WL 4916138, at *2 (S.D. Cal. Oct. 17, 2011). Indeed, all the purported
                                                                                                               12   authorities cited in the Application are expressly inapposite on this ground alone, as
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                                                                                                               13   they all admittedly concerned private, not public, companies. See, App., pp. 6-7.3
                                                                                                               14   Nor is this a case of a founder with a special connection seeking to maintain control
                                                                                                               15   of his company. Id. As explained below, an order restraining the Merger, which
                                                                                                               16
                                                                                                               17   3
                                                                                                                      Liu cites the following factually inapposite cases: Kramer v. Puracyp, Inc., 2017
                                                                                                               18   WL 1034474, at *4 (Cal. App. 4th Dist. Mar. 17, 2017) (this unpublished and
                                                                                                                    uncitable opinion involved stock of a closely held corporation where two individuals
                                                                                                               19
                                                                                                                    held at least 80% of the company’s stock); La Jolla Cove Investors, 2011 WL
                                                                                                               20   4916138, at *2 (the full context of the sentence that Liu quotes is “[t]he general rule
                                                                                                                    for invoking specific performance in the context of a breach of agreement is that an
                                                                                                               21
                                                                                                                    ‘agreement to transfer personal property will not justify specific performance, except
                                                                                                               22   in case of unique chattels such as heirlooms, or shares of stock not obtainable in the
                                                                                                                    open market’”); CX Inc. v. Clarington Capital Group LLC, 2012 WL 4097752, at
                                                                                                               23
                                                                                                                    *1-2 (N.D. Cal. 17, 2012) (involving a closely held corporation where the stock was
                                                                                                               24   not publicly traded or “its value [was] not otherwise ascertainable”); Steinmeyer v.
                                                                                                                    Warner Cons. Group, 42 Cal. App. 3d 515, 519-20 (1974) (the stock “was apparently
                                                                                                               25
                                                                                                                    wholly owned by [one company] and not readily obtainable on the open market”);
                                                                                                               26   Kaneko v. Okuda, 195 Cal. App. 2d 217, 233-34 (1961) (the stock “could be acquired
                                                                                                                    only from the individual defendants,” “was acquired by plaintiff as a part of his
                                                                                                               27
                                                                                                                    busines program,” and “defendants’ failure to deliver could not have been
                                                                                                               28   compensated by money judgment”).
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                                                                                                                1   would be an existential risk to Smart King and would actually endanger Liu’s ability
                                                                                                                2   to enforce any recovery. As such, the Application should be denied.
                                                                                                                3           D.    Regardless, Liu is not likely to succeed on the merits of his claims
                                                                                                                4                 because his options never vested and he never exercised them, and
                                                                                                                5                 his superseded employment agreement is unenforceable.
                                                                                                                6           Liu’s sole allegation in his complaint concerning specific performance is found
                                                                                                                7   at paragraph 115: “Plaintiff is entitled to specific performance of his right to
                                                                                                                8   immediate vesting of his 20 million Smart King options.” However, tellingly absent
                                                                                                                9   from the Application is any mention of the facts that Liu’s purported options,
                                                                                                               10   according to their own terms, never vested prior to his termination, and in any event,
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                                                                                                               11   were never exercised prior to their expiration. Likewise, the Application studiously
                                                                                                               12   ignores the details of FF’s defenses to Liu’s purported option rights vis-à-vis the
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                                                                                                               13   Employment Agreement (on which he must rely to avoid obligations imposed by the
                                                                                                               14   option grant agreements). To wit, Liu negotiated his Employment Agreement while
                                                                                                               15   representing FF, but he never: (i) advised FF in writing to obtain independent
                                                                                                               16   counsel; (ii) informed FF his client of all existing and potential conflicts; or
                                                                                                               17   (iii) obtained FF’s informed, written consent as to such conflicts. Additionally, he
                                                                                                               18   negotiated patently unconscionable terms, including grossly excessive fees and
                                                                                                               19   ownership of FF, both of which were guaranteed even if Liu was immediately
                                                                                                               20   terminated and even if a court expressly found Liu had breached his fiduciary duties,
                                                                                                               21   and he did so while selectively using English even though his clients native language
                                                                                                               22   was Mandarin.
                                                                                                               23           As a result of these violations of both the California and New York Rules of
                                                                                                               24   Professional Conduct, the employment agreement is rescindable and void ab initio.
                                                                                                               25   See Sheppard, Mullin, Richter & Hampton, LLP v. J-M Manufacturing Corp.
                                                                                                               26   (Sheppard), 6 Cal.5th 59 (2018) (“under the framework established in Loving &
                                                                                                               27   Evans v. Blick (1949) 33 Cal.2d 603… the law firm’s conflict of interest rendered the
                                                                                                               28   agreement with the manufacturer, including its arbitration clause, unenforceable as
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                                                                                                                1   against public policy,” despite a signed conflict waiver that was found not effective
                                                                                                                2   because it did not disclose the known conflict); Plattsburgh Hous. Auth. v. Cantwell,
                                                                                                                3   54 Misc. 3d 1216(A), 54 N.Y.S.3d 612, at *4 (N.Y. Sup. Ct. 2017) (finding rescission
                                                                                                                4   of an employment agreement proper where attorney violated Rule of Professional
                                                                                                                5   Conduct 1.8).     Furthermore, under such circumstances, specific performance is
                                                                                                                6   unavailable as a matter of law. See Cal. Civ. Code § 3391 (“Specific performance
                                                                                                                7   cannot be enforced against a party to a contract in any of the following circumstances
                                                                                                                8   . . . 2. If it is not, as to him, just and reasonable; 3. If his assent was obtained by the
                                                                                                                9   misrepresentation, concealment, circumvention, or unfair practices of any party to
                                                                                                               10   whom performance would become due under the contract….”).
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                                                                                                               11           Finally, Liu ignores that the plain language of the Employment Agreement
                                                                                                               12   only would provide for the immediate vesting of options if he was terminated after a
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                                                                                                               13   court found him liable for a serious breach of fiduciary duty, and such a finding has
                                                                                                               14   never occurred.
                                                                                                               15           For these reasons, which were unstated anywhere in the Application, Liu’s
                                                                                                               16   option claims are very unlikely to succeed on the merits, and the Application should
                                                                                                               17   be denied.
                                                                                                               18           E.    The hardships are entirely one-sided, and Smart King would likely
                                                                                                               19                 suffer severely and irreparably, while Liu will lose nothing.
                                                                                                               20           Because a main objective of a preliminary injunction is to minimize the harm
                                                                                                               21   of an erroneous interim decision, the Court must consider the balance of hardships,
                                                                                                               22   i.e., the harm likely to result from the grant or denial of preliminary relief. Alliance
                                                                                                               23   for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011). When, as
                                                                                                               24   here, the balance of hardships dramatically favors denial, granting preliminary
                                                                                                               25   injunctive relief constitutes an abuse of discretion. See, e.g., In re Apple Computer,
                                                                                                               26   Inc., Derivative Litig., 2006 WL 8443550, at *1 (N.D. Cal. Nov. 1, 2006) (denying
                                                                                                               27   injunction seeking to enjoying defendant and anyone issued backdated options from
                                                                                                               28   exercising those options and imposing constructive trust, after weighing “that the
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                                                                                                                1   proposed injunction would hinder Apple’s efforts to hire, retain, and compensate
                                                                                                                2   employees in a competitive manner”).               Restraining the Merger parties from
                                                                                                                3   proceeding at this point in the transaction seriously risks derailing the entire
                                                                                                                4   transaction, which risks wasting the very significant resources put already into the
                                                                                                                5   Merger. Moreover, it seriously risks Smart King’s continued existence, jeopardizing
                                                                                                                6   the investments and livelihoods of several hundreds of actual shareholders and nearly
                                                                                                                7   400 employees.
                                                                                                                8           Meanwhile, as shown above, there is no justification for the overbroad
                                                                                                                9   restraining order and injunction demanded in the Application at all, as legal remedies
                                                                                                               10   are adequate if he somehow does succeed on the merits, Liu can sustain no harm by
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                                                                                                               11   the Application’s denial. Further, the authorities cited by Liu concededly do not
                                                                                                               12   apply as they admittedly all concern a claimants’ interest in special properties, not
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                                                                                                               13   options in publicly traded companies. App., p. 10.4 The Court must therefore deny
                                                                                                               14   the Application.
                                                                                                               15           F.    The Application’s requested injunction would harm the public’s
                                                                                                               16                 interest, including the livelihoods of nearly five hundred
                                                                                                               17                 employees.
                                                                                                               18           The public interest also heavily favors the Application’s denial. Enjoining the
                                                                                                               19   Merger would endanger the employment of nearly 400 employees and the
                                                                                                               20   investments of hundreds of investors. That far outweighs Liu’s purported interest in
                                                                                                               21   having his own (disputed) option enforced, the enforcement of which—as explained
                                                                                                               22
                                                                                                                    4
                                                                                                                      Liu cites the following factually inapposite cases: HSBC Bank USA, N.A. v. ZNM
                                                                                                               23
                                                                                                                    Holdings, Inc., 2010 WL 11558087, at *3 (C.D. Cal. Apr. 19, 2020) (involving
                                                                                                               24   appointment of a temporary receiver to supervise a distressed business, where the
                                                                                                                    distressed business had defaulted and had previously agreed to appointment of a
                                                                                                               25
                                                                                                                    receiver in the event of its default); House v. Moller, 2012 WL 1292483, at *7 (E.D.
                                                                                                               26   Cal. Apr. 16, 2012) (involving the right to exercise a first right of refusal in an
                                                                                                                    agricultural lease for a specific plot of real property that plaintiffs had been operating
                                                                                                               27
                                                                                                                    their organic farm on)).
                                                                                                               28
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                                                                                                                1   repeatedly above—does not in any way require enjoining the Merger in any case.
                                                                                                                2   Unsurprisingly, none of the authorities cited in Liu’s Application even remotely
                                                                                                                3   concerned the potential derailing of a billion-dollar deal wholly unrelated to the
                                                                                                                4   plaintiff’s underlying case or that risked sinking a more than $4 billion company and
                                                                                                                5   rendering hundreds of employees jobless. App., pp. 10-11.5
                                                                                                                6           Moreover, Liu’s contention that the injunction is somehow required so that
                                                                                                                7   Liu’s alleged options claims are disclosed to investors is both an irrelevant non
                                                                                                                8   sequitur and grossly misleading. App., p. 11. As Liu well knows, Smart King in fact
                                                                                                                9   properly disclosed Liu’s claims in each of its relevant public filings under pending
                                                                                                               10   litigations. (Sekhon Decl. at ¶ 6.) Liu’s contention that Smart King instead needs to
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                                                                                                               11   list those options in its financials as though Liu has somehow already won this case—
                                                                                                               12   when again, Liu has very little chance on the merits—makes no sense. Regardless,
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                                                                                                               13   that has nothing to do with restraining the Merger from moving forward.
                                                                                                               14
                                                                                                                    5
                                                                                                                      Liu cites the following factually inapposite cases: Flip Flop Shops Franchise Co.,
                                                                                                               15   LLC v. Neb, 2016 WL 9275403, at *9 (C.D. Cal. Dec. 5, 2016) (involving a
                                                                                                               16   franchisee seeking to enforce a no-competition covenant it had with its franchisor
                                                                                                                    and explaining that “[w]hen the reach of an injunction is narrow, limited only to the
                                                                                                               17
                                                                                                                    parties, and has no impact on non-parties, the public interest will be at most a neutral
                                                                                                               18   factor”); Garmon Corp. v. HealthyPets, Inc., 2018 WL 6016911, at *1 (C.D. Cal.
                                                                                                                    June 4, 2018) (plaintiff sought to enjoining defendant from selling its products, using
                                                                                                               19
                                                                                                                    its intellectual property, and giving an impression that it was authorized to sell its
                                                                                                               20   products, but providing no substantive discussion of the impact on the public); HSBC,
                                                                                                                    2010 WL 11558087, at *4 (involving and injunction for the appointment of a
                                                                                                               21
                                                                                                                    receiver, as agreed to under a loan agreement, for a distressed company that had
                                                                                                               22   defaulted under the loan agreement); Abrams v. Blackburne & Sons Realty Capital
                                                                                                                    Corp., 2020 WL 5028877, at *5 (C.D. Cal. June 16, 2020) (seeking an injunction that
                                                                                                               23
                                                                                                                    would protect plaintiffs’ interest in a specific golf club property and finding no
                                                                                                               24   impact on the public interest beyond protecting those property rights); Bryant v.
                                                                                                                    Matvieshen, 2012 WL 1499068, at *4 (E.D. Cal. Apr. 27, 2012) (involving an
                                                                                                               25
                                                                                                                    agreement where plaintiffs and defendant would own certain corporations together
                                                                                                               26   as 40-30-30 owners, but where defendant only transferred a portion of plaintiffs’
                                                                                                                    ownership shares to them during a merger of one of those corporations with another
                                                                                                               27
                                                                                                                    entity—the public interest was limited to the parties and corporate entities involved
                                                                                                               28   in the dispute)
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                                                                                                                1           G.    If the Merger is stopped, Liu must make a $4 billion dollar bond.
                                                                                                                2           The Federal Rules of Civil Procedure require Liu to offer a security sufficient
                                                                                                                3   to pay the costs and damages sustained by Smart King if it is wrongly enjoined. Fed.
                                                                                                                4   R. Civ. P. 65(c). But Liu offers no such undertaking, nor does he even attempt to
                                                                                                                5   explain why such a security should be excused, nor could he have at any rate. This
                                                                                                                6   is likely because the scope of the Merger he seeks to unilaterally halt is and the
                                                                                                                7   damages that are likely to befall Smart King are almost certainly beyond Liu’s means.
                                                                                                                8           Specifically, while there is no cognizable basis to enjoin the Merger, in the
                                                                                                                9   event the Application is granted, before any injunction can or does become effective,
                                                                                                               10   Liu should be required to post a bond in the amount of $4 billion—the approximate
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                                                                                                               11   market capitalization that Smart King’s investors stand to lose if the Merger does not
                                                                                                               12   close—or, at the very least, $1 billion, which is the expected public funding that
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                                                                                                               13   Smart King will lose if the Merger does not close.
                                                                                                               14   V.      CONCLUSION
                                                                                                               15           This is a paradigm case for when to deny ex parte temporary injunctive relief.
                                                                                                               16   There is no emergency, no irreparable harm, no likelihood of success on the merits,
                                                                                                               17   and the requested injunction will cause multiple species of immediate, ongoing, and
                                                                                                               18   potentially existential harm to Smart King while Liu faces no hardship at all from the
                                                                                                               19   Application’s denial. The facts and law therefore mandate the Application’s denial,
                                                                                                               20   and Smart King respectfully requests that the Court further award its reasonable costs
                                                                                                               21   and fees in opposing the meritless Application.
                                                                                                               22   Dated: April 7, 2021                      Respectfully submitted,
                                                                                                                                                              TROUTMAN PEPPER HAMILTON
                                                                                                               23                                             SANDERS LLP
                                                                                                               24                                               By: /s/ Kevin A. Crisp
                                                                                                                                                                   Kevin A. Crisp
                                                                                                               25
                                                                                                                                                                Attorneys for Defendants SMART
                                                                                                               26                                               KING LTD., JIAWEI WANG, and
                                                                                                                                                                CHAOYING DENG and Defendant and
                                                                                                               27                                               Counterclaimant FARADAY&FUTURE
                                                                                                                                                                INC.
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